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                           UNITED STATES DISTRICT COURT

                                 DISTRICT OF MAINE




MARK RANKIN, et al.,                       )
                                           )
             Plaintiffs,                   )
                                           )
      v.                                   )   Civil No. 2:15-cv-00480-JAW
                                           )
DAVID HALL, et al.,                        )
                                           )
             Defendants.


                               ORDER OF DISMISSAL

      Plaintiff having failed to show any cause in response to this Court's Order to Show

Cause dated March 22, 2016 why this action should not be dismissed,

      IT IS HEREBY ORDERED that this action be and hereby is DISMISSED without

prejudice.


      SO ORDERED.




                                                      /s/John A. Woodcock, Jr.
      Dated this 11th day of April, 2016              JOHN A. WOODCOCK, JR.
                                                      U.S. DISTRICT JUDGE
